Case 8:22-cr-00259-WFJ-AEP   Document 296-298   Filed 09/17/24   Page 1 of 11
                               PageID 5147




              U.S. District Court
            Middle District of Florida
                Tampa Division

           GOVERNMENT EXHIBIT

  Exhibit No.: 333

  Case No.: 8:22-cr-259-WFJ-AEP

  UNITED STATES OF AMERICA

  vs.

  OMALI YESHITELA, ET AL.


  Date Identified:                    __________

  Date Admitted:                   ____________
                                Case 8:22-cr-00259-WFJ-AEP                                        Document 296-298                            Filed 09/17/24                      Page 2 of 11
                                                                                                    PageID 5148

Message Date/Time - UTC+00:00
                                 Message Direction Sender                 Receiver                Message                                                             Translation/Local Media Path
(yyyy/MM/dd)
2022/02/22 09:16:56              Outgoing         Alexander Ionov         Yevgeniy Vistoropskiy   Евгений привет                                                      Hi, Yevgeniy.
2022/02/22 09:17:06              Outgoing         Alexander Ionov         Yevgeniy Vistoropskiy   Сегодня встречаемся или завтра?                                     Are we meeting today or tomorrow?
                                                                                                  Саш, привет! Да лучше сегодня, а то с этой обстановкой непонятно,   Hi, Sash! Well, today would be better, because considering the situation, you can't
2022/02/22 09:19:48              Incoming         Yevgeniy Vistoropskiy   Alexander Ionov         что завтра будет))                                                  know for sure what tomorrow will bring)).
2022/02/22 09:20:04              Outgoing         Alexander Ionov         Yevgeniy Vistoropskiy   А ты сможешь к нам доскочить?                                       So will you be able to stop by our place?
2022/02/22 09:20:04              Incoming         Yevgeniy Vistoropskiy   Alexander Ionov         Когда удобно и где?                                                 When is it good for you and where?
2022/02/22 09:20:15              Outgoing         Alexander Ionov         Yevgeniy Vistoropskiy   Можем пружинами                                                     We can by springs [sic].
2022/02/22 09:20:20              Outgoing         Alexander Ionov         Yevgeniy Vistoropskiy   В метрополисе                                                       At Metropolis.
2022/02/22 09:20:33              Outgoing         Alexander Ionov         Yevgeniy Vistoropskiy   Где с Егором обычно едим                                            Where Yegor and I usually eat.
                                                                                                  Media/79999887666@s.whatsapp.net/6/5/65d77c20-c724-4101-9e9f-
                                                                                                  ad9ae3ffaef3.jpg                                                    Media/79999887666@s.whatsapp.net/6/5/65d77c20-c724-4101-9e9f-ad9ae3ffaef3.jpg




2022/02/22 09:21:34              Incoming         Yevgeniy Vistoropskiy   Alexander Ionov
2022/02/22 09:21:37              Incoming         Yevgeniy Vistoropskiy   Alexander Ionov         Правильно понимаю, там?                                             Right there? Do I understand it right?
2022/02/22 09:21:43              Outgoing         Alexander Ionov         Yevgeniy Vistoropskiy   Да                                                                  Yes.
2022/02/22 09:21:49              Outgoing         Alexander Ionov         Yevgeniy Vistoropskiy   Только на мцк лучше                                                 Only it's better by the Moscow Central Circle [MTsK/MCC].
2022/02/22 09:21:53              Outgoing         Alexander Ionov         Yevgeniy Vistoropskiy   25 минут                                                            25 minutes.
2022/02/22 09:22:00              Outgoing         Alexander Ionov         Yevgeniy Vistoropskiy   И выход прямо в ТУ                                                  And you exit straight into TU [sic].
2022/02/22 09:22:09              Incoming         Yevgeniy Vistoropskiy   Alexander Ionov         Давай                                                               Let's do it.
2022/02/22 09:22:15              Incoming         Yevgeniy Vistoropskiy   Alexander Ionov         Во сколько?                                                         What time?
2022/02/22 09:22:18              Outgoing         Alexander Ionov         Yevgeniy Vistoropskiy   Предлагаю в 18?                                                     How about 18:00?
2022/02/22 09:22:21              Outgoing         Alexander Ionov         Yevgeniy Vistoropskiy   Или раньше?                                                         Or earlier?
2022/02/22 09:22:54              Incoming         Yevgeniy Vistoropskiy   Alexander Ionov         Ну давай 17:20-30, удобно будет?                                    Well, let's do it at 17:20 or 17:30. Will that work?
2022/02/22 09:24:01              Outgoing         Alexander Ionov         Yevgeniy Vistoropskiy   Вполне                                                              Totally.
2022/02/22 09:24:19              Incoming         Yevgeniy Vistoropskiy   Alexander Ionov         Отлично                                                             Awesome.
                                                                                                  Media/79999887666@s.whatsapp.net/9/c/9cecdf54-f8d7-42ca-9c61-       Media/79999887666@s.whatsapp.net/9/c/9cecdf54-f8d7-42ca-9c61-
                                                                                                  4d31171c963e.webp                                                   4d31171c963e.webp




2022/02/22 09:27:51              Outgoing         Alexander Ionov         Yevgeniy Vistoropskiy
                      Case 8:22-cr-00259-WFJ-AEP                                  Document 296-298                          Filed 09/17/24                      Page 3 of 11
                                                                                    PageID 5149

                                                                                  Автономная некоммерческая организация «Центр развития             Center for the Development of Cultural Initiatives, Autonomous Non-Commercial
2022/02/22 11:09:26    Outgoing   Alexander Ionov         Yevgeniy Vistoropskiy   культурных инициатив» (далее – АНО «ЦРКИ»).                       Organization (hereinafter referred to as ANO TsRKI).
2022/02/22 11:09:34    Outgoing   Alexander Ionov         Yevgeniy Vistoropskiy   Не знаешь из?                                                     Do you know iz [sic]?
                                                                                  Не, Саш, не слышал. Саш, у нас тут награждение в 17:00, если на   Nah, Sash, I've never heard. Sash, we have an award ceremony at 17:00. Is it OK if we
2022/02/22 11:36:13    Incoming   Yevgeniy Vistoropskiy   Alexander Ionov         18:30 перенесём, ничего?                                          reschedule to 18:30?
2022/02/22 11:37:20    Outgoing   Alexander Ionov         Yevgeniy Vistoropskiy   Да давай                                                          Yes, let' do it.
2022/02/22 11:37:26    Outgoing   Alexander Ionov         Yevgeniy Vistoropskiy   Нет проблем                                                       No problem.
                                                                                  Media/79999887666@s.whatsapp.net/a/d/adacc199-5e78-401e-a8ee-     Media/79999887666@s.whatsapp.net/a/d/adacc199-5e78-401e-a8ee-
                                                                                  3420a5954e06.webp                                                 3420a5954e06.webp




2022/02/22 11:37:28    Outgoing   Alexander Ionov         Yevgeniy Vistoropskiy
2022/02/22 11:37:45    Incoming   Yevgeniy Vistoropskiy   Alexander Ionov         [Emoji(s)]                                                        [Emoji(s)]
                                                                                                                                                    Happy holiday!

                                                                                                                                                    Media/79999887666@s.whatsapp.net/5/3/53ceac00-9e7a-43ef-a3de-
                                                                                                                                                    2cf5269c8d67.jpg




2022/02/23 06:45:29    Incoming   Yevgeniy Vistoropskiy   Alexander Ionov         С праздником!
2022/02/23 07:50:07    Outgoing   Alexander Ionov         Yevgeniy Vistoropskiy   Доброе утро                                                       Good morning.
                      Case 8:22-cr-00259-WFJ-AEP                                  Document 296-298                         Filed 09/17/24                      Page 4 of 11
                                                                                    PageID 5150

                                                                                  Media/79999887666@s.whatsapp.net/c/2/c209da26-5354-405d-be9b-   Media/79999887666@s.whatsapp.net/c/2/c209da26-5354-405d-be9b-
                                                                                  a14a53839fbf.jpg                                                a14a53839fbf.jpg




2022/02/23 07:50:11    Outgoing   Alexander Ionov         Yevgeniy Vistoropskiy
2022/02/23 07:50:37    Incoming   Yevgeniy Vistoropskiy   Alexander Ionov         Доброе!                                                         Good [morning]!
2022/02/23 07:50:39    Outgoing   Alexander Ionov         Yevgeniy Vistoropskiy   Можем встретится сегодня в 15:00?                               Can we meet at 15:00 today?
2022/02/23 07:50:47    Incoming   Yevgeniy Vistoropskiy   Alexander Ionov         Да, конечно                                                     Yes, of course.
2022/02/23 07:51:07    Incoming   Yevgeniy Vistoropskiy   Alexander Ionov         В метрополисе?                                                  At Metropolis?
2022/02/23 07:51:19    Outgoing   Alexander Ionov         Yevgeniy Vistoropskiy   Тогда в ТЦ Метрополис, 2 этаж торро гриль                       In that case, at Metropolis shopping center, second floor, Torro Grill.
2022/02/23 07:51:29    Incoming   Yevgeniy Vistoropskiy   Alexander Ionov         Принял, буду                                                    Copy that. I'll be there.
                                                                                  Media/79999887666@s.whatsapp.net/1/d/1d53149d-566d-4784-9395-   Media/79999887666@s.whatsapp.net/1/d/1d53149d-566d-4784-9395-
                                                                                  f9483ccee6f9.webp                                               f9483ccee6f9.webp




2022/02/23 07:52:09    Outgoing   Alexander Ionov         Yevgeniy Vistoropskiy
2022/02/23 11:12:03    Outgoing   Alexander Ionov         Yevgeniy Vistoropskiy   Женя                                                            Zhenya.
2022/02/23 11:12:07    Outgoing   Alexander Ionov         Yevgeniy Vistoropskiy   Давай в 15:30                                                   Let's do it at 15:30.
2022/02/23 11:12:12    Outgoing   Alexander Ionov         Yevgeniy Vistoropskiy   А то я припаздываю                                              Because I'm running a little late.
2022/02/23 11:12:13    Outgoing   Alexander Ionov         Yevgeniy Vistoropskiy   Сорри                                                           Sorry.
2022/02/23 11:13:38    Incoming   Yevgeniy Vistoropskiy   Alexander Ionov         Хорошо                                                          Alright.
2022/02/23 12:28:43    Incoming   Yevgeniy Vistoropskiy   Alexander Ionov         Саш, на месте?                                                  Are you there, Sash?
2022/02/23 12:28:53    Outgoing   Alexander Ionov         Yevgeniy Vistoropskiy   Еду                                                             I'm on my way.
2022/02/23 12:28:54    Outgoing   Alexander Ionov         Yevgeniy Vistoropskiy   А ты?                                                           How about you?
2022/02/23 12:28:59    Incoming   Yevgeniy Vistoropskiy   Alexander Ionov         Тут                                                             Here.
2022/02/23 12:29:00    Outgoing   Alexander Ionov         Yevgeniy Vistoropskiy   Присаживайся                                                    Take a seat.
2022/02/23 12:29:03    Outgoing   Alexander Ionov         Yevgeniy Vistoropskiy   Заказывай                                                       Place an order.
2022/02/23 12:29:06    Outgoing   Alexander Ionov         Yevgeniy Vistoropskiy   Мне 10 мин                                                      It’ll take me ten minutes
2022/02/23 12:29:08    Outgoing   Alexander Ionov         Yevgeniy Vistoropskiy   Плюс минус                                                      More or less.
2022/02/23 12:29:14    Incoming   Yevgeniy Vistoropskiy   Alexander Ionov         Ок                                                              OK.
2022/02/23 12:29:14    Outgoing   Alexander Ionov         Yevgeniy Vistoropskiy   Стоит Октябрьское поле                                          Oktyabrskoye Pole is at a standstill.
2022/02/23 12:29:16    Outgoing   Alexander Ionov         Yevgeniy Vistoropskiy   Намертво                                                        For good.
2022/02/23 12:29:22    Outgoing   Alexander Ionov         Yevgeniy Vistoropskiy   Авария у тоннеля                                                There is an accident by the tunnel.
2022/02/23 12:29:25    Incoming   Yevgeniy Vistoropskiy   Alexander Ionov         Я пока ищу его                                                  I'm still looking for it.
2022/02/23 12:29:25    Outgoing   Alexander Ionov         Yevgeniy Vistoropskiy   Сорри                                                           Sorry.
2022/02/23 12:29:34    Incoming   Yevgeniy Vistoropskiy   Alexander Ionov         Да ниче                                                         No problem.
                      Case 8:22-cr-00259-WFJ-AEP                                  Document 296-298                          Filed 09/17/24                      Page 5 of 11
                                                                                    PageID 5151

2022/02/23 12:29:35    Outgoing   Alexander Ionov         Yevgeniy Vistoropskiy   Второй этаж напротив старбакса                                   The second floor is across from Starbucks.
2022/02/23 12:29:53    Incoming   Yevgeniy Vistoropskiy   Alexander Ionov         [Emoji(s)]                                                       [Emoji(s)]
2022/02/23 12:36:38    Incoming   Yevgeniy Vistoropskiy   Alexander Ionov         Саш, ты не бронировал?                                           Have you made a reservation, Sash?
2022/02/23 12:36:43    Incoming   Yevgeniy Vistoropskiy   Alexander Ionov         Тут битком все                                                   It's all completely packed.
2022/02/23 12:37:15    Outgoing   Alexander Ionov         Yevgeniy Vistoropskiy   Нет                                                              No.
2022/02/23 12:37:21    Outgoing   Alexander Ionov         Yevgeniy Vistoropskiy   Там обычно пусто                                                 It's usually empty.
2022/02/23 12:37:26    Outgoing   Alexander Ionov         Yevgeniy Vistoropskiy   [Emoji(s)]                                                       [Emoji(s)]
2022/02/23 12:37:31    Incoming   Yevgeniy Vistoropskiy   Alexander Ionov         Ну сегодня 23                                                    Well, it's the 23rd today.
2022/02/23 12:37:32    Outgoing   Alexander Ionov         Yevgeniy Vistoropskiy   А в соседнем?                                                    How about the one next to it?
2022/02/23 12:38:02    Incoming   Yevgeniy Vistoropskiy   Alexander Ionov         Кондитера?                                                       The confectionery?
2022/02/23 12:38:12    Outgoing   Alexander Ionov         Yevgeniy Vistoropskiy   Да                                                               Yes.
2022/02/23 12:38:17    Outgoing   Alexander Ionov         Yevgeniy Vistoropskiy   Да в любое садись                                                Just take a seat at any.
2022/02/23 12:38:20    Outgoing   Alexander Ionov         Yevgeniy Vistoropskiy   Я лечу                                                           I’m flying.
                                                                                  Media/79999887666@s.whatsapp.net/6/0/609d1e3d-3439-4556-a435-    Media/79999887666@s.whatsapp.net/6/0/609d1e3d-3439-4556-a435-
                                                                                  4052362249e9.docx                                                4052362249e9.docx

2022/02/23 14:00:50    Incoming   Yevgeniy Vistoropskiy   Alexander Ionov         Заявка MK_2022_1_1_71.docx                                       [Document]
2022/02/23 14:00:57    Incoming   Yevgeniy Vistoropskiy   Alexander Ionov         Это пример Калинина                                              That's Kalinin's example.



                                                                                                                                                   Media/79999887666@s.whatsapp.net/3/d/3dc5d156-a0e6-4682-b37f-
                                                                                                                                                   cca8138f4b98.docx
                                                                                  Media/79999887666@s.whatsapp.net/3/d/3dc5d156-a0e6-4682-b37f-
                                                                                  cca8138f4b98.docx                                                [Document]

2022/02/23 14:01:14    Incoming   Yevgeniy Vistoropskiy   Alexander Ionov         Заявка NK_2022_1_5_23-2.docx
2022/02/23 14:01:21    Incoming   Yevgeniy Vistoropskiy   Alexander Ionov         Пример Царьграда                                                 Tsargrad's example.
2022/02/23 14:01:34    Outgoing   Alexander Ionov         Yevgeniy Vistoropskiy   Благодарю                                                        I appreciate it.
2022/02/23 14:01:46    Incoming   Yevgeniy Vistoropskiy   Alexander Ionov         [Emoji(s)]                                                       [Emoji(s)]
2022/02/24 04:38:11    Outgoing   Alexander Ionov         Yevgeniy Vistoropskiy   Не дали тебе поспать                                             We didn't let you sleep
2022/02/24 04:39:03    Incoming   Yevgeniy Vistoropskiy   Alexander Ionov         Ахахах                                                           Hahaha
2022/02/24 04:39:25    Incoming   Yevgeniy Vistoropskiy   Alexander Ionov         Привет! Да не, мы в штатном                                      Hi! Not really, these are our normal hours of operation
2022/02/24 04:39:48    Outgoing   Alexander Ionov         Yevgeniy Vistoropskiy   Доброе утро)                                                     Good morning)
2022/02/24 04:39:51    Outgoing   Alexander Ionov         Yevgeniy Vistoropskiy   Ужас                                                             It's terrible

                                                                                  Правозащитница Марина Литвинович призвала всех противников
                                                                                  военной операции в Донбассе выйти в центры своих городов в       Human rights activist Marina Litvinovich called on all those against the military
                                                                                  19:00, чтобы выразить свой протест. «Мы будем расхлебывать все   operation in Donbass to take to the streets of their city centers at 19:00 in order to
                                                                                  это много лет. Даже не мы. А наши дети и внуки. Империи не       stage a protest. 'We'll be facing the consequences of this for years to come. Not even
                                                                                  распадаются быстро и безболезненно: умирая, они затаскивают в    us. But our children and grandchildren. Empires do not fall apart quickly and painlessly:
2022/02/24 08:50:06    Outgoing   Alexander Ionov         Yevgeniy Vistoropskiy   могилу всех, до кого дотянутся», — написала Литвинович.          when dying, they drag into the grave everyone within their reach ,' wrote Litvinovich.
2022/02/24 08:50:46    Incoming   Yevgeniy Vistoropskiy   Alexander Ionov         Ваша же она?                                                     Isn't she yours?
2022/02/24 08:50:51    Outgoing   Alexander Ionov         Yevgeniy Vistoropskiy   Не наша                                                          [She is] not ours
2022/02/24 08:50:56    Outgoing   Alexander Ionov         Yevgeniy Vistoropskiy   Совсем не наша                                                   [She is] anything but ours




2022/02/24 08:51:03    Outgoing   Alexander Ionov         Yevgeniy Vistoropskiy   И совсем плохая женщина                                          And a totally bad woman
2022/02/24 08:51:37    Incoming   Yevgeniy Vistoropskiy   Alexander Ionov         Все,почитал                                                      That's it, I have read it
2022/02/24 08:51:41    Incoming   Yevgeniy Vistoropskiy   Alexander Ionov         Принял, спасибо                                                  I got it, thank you
                      Case 8:22-cr-00259-WFJ-AEP                                  Document 296-298                          Filed 09/17/24                     Page 6 of 11
                                                                                    PageID 5152

                                                                                  Media/79999887666@s.whatsapp.net/a/f/af176725-ffbd-4665-99ef-   Media/79999887666@s.whatsapp.net/a/f/af176725-ffbd-4665-99ef-
                                                                                  629d9c1ed9b0.webp                                               629d9c1ed9b0.webp




2022/02/24 08:51:44    Outgoing   Alexander Ionov         Yevgeniy Vistoropskiy
                                                                                  ⚡Поступила информация о скором аресте тех, кто ведёт            ⚡It has been reported that those who conduct a pro-Ukraine campaign in the Russian
                                                                                  проукраинскую политику в РФ, со всеми вытекающими.              Federation [RF], with all that it entails, will be arrested in the near future. It is about
2022/02/24 10:37:51    Outgoing   Alexander Ionov         Yevgeniy Vistoropskiy   Речь о крупных российских СМИ, медиа и блогеров.                prominent Russian mass media, media and bloggers.
2022/02/24 10:37:54    Outgoing   Alexander Ionov         Yevgeniy Vistoropskiy   Реально?                                                        Really?
2022/02/24 10:38:24    Incoming   Yevgeniy Vistoropskiy   Alexander Ionov         Мы не слышали                                                   We haven't heard
2022/02/24 10:38:40    Incoming   Yevgeniy Vistoropskiy   Alexander Ionov         Но там масса народу призывает на митинг в 19:00                 But there is a mass of people calling for a rally at 19:00
2022/02/24 10:38:51    Outgoing   Alexander Ionov         Yevgeniy Vistoropskiy   Это литвинович                                                  That's Litvinovich




2022/02/24 10:38:53    Outgoing   Alexander Ionov         Yevgeniy Vistoropskiy   Пиарится                                                        [She] is seeking publicity
2022/02/24 10:39:43    Incoming   Yevgeniy Vistoropskiy   Alexander Ionov         Ну Э-шники возьмут ее, явно                                     Well, Center E agents [eshniki] will apprehend her, clearly
                                                                                  Media/79999887666@s.whatsapp.net/4/b/4be478d4-d2b9-4e02-96cf-   Media/79999887666@s.whatsapp.net/4/b/4be478d4-d2b9-4e02-96cf-
                                                                                  6e2d37cbb1af.webp                                               6e2d37cbb1af.webp




2022/02/24 10:39:51    Outgoing   Alexander Ionov         Yevgeniy Vistoropskiy
2022/02/24 10:39:54    Outgoing   Alexander Ionov         Yevgeniy Vistoropskiy   Хренова                                                         It sucks
2022/02/24 10:40:01    Outgoing   Alexander Ionov         Yevgeniy Vistoropskiy   Пиара ей ещё больше                                             Yet another publicity stunt




2022/02/24 10:40:23    Incoming   Yevgeniy Vistoropskiy   Alexander Ionov         Ну по-другому никак                                             Well, there's no other way
                      Case 8:22-cr-00259-WFJ-AEP                                  Document 296-298                         Filed 09/17/24                      Page 7 of 11
                                                                                    PageID 5153

                                                                                  Media/79999887666@s.whatsapp.net/c/9/c905e432-c57a-4c7c-9075-   Media/79999887666@s.whatsapp.net/c/9/c905e432-c57a-4c7c-9075-
                                                                                  790c8140ed8a.webp                                               790c8140ed8a.webp




2022/02/24 11:01:32    Outgoing   Alexander Ionov         Yevgeniy Vistoropskiy
2022/02/24 13:13:34    Outgoing   Alexander Ionov         Yevgeniy Vistoropskiy   Что то тишина                                                   It is quiet for some reason
2022/02/24 13:13:42    Outgoing   Alexander Ionov         Yevgeniy Vistoropskiy   По нежелательным                                                Regarding the undesirables




2022/02/24 13:14:02    Incoming   Yevgeniy Vistoropskiy   Alexander Ionov         Решение есть                                                    A decision has been made
                                                                                  Media/79999887666@s.whatsapp.net/3/c/3ca2e726-9a52-451b-9e2f-ed3166609fd8.jpg
                                                                                                                                                  Media/79999887666@s.whatsapp.net/3/c/3ca2e726-9a52-451b-9e2f-
                                                                                                                                                  ed3166609fd8.jpg




2022/02/24 13:14:02    Incoming   Yevgeniy Vistoropskiy   Alexander Ionov
2022/02/24 13:14:05    Incoming   Yevgeniy Vistoropskiy   Alexander Ionov         Ждём только                                                     We are just waiting
2022/02/24 13:14:14    Incoming   Yevgeniy Vistoropskiy   Alexander Ionov         Ну это не постить                                               Well, this is not to be posted




2022/02/24 13:14:17    Incoming   Yevgeniy Vistoropskiy   Alexander Ionov         [Emoji(s)]                                                      [Emoji(s)]
                      Case 8:22-cr-00259-WFJ-AEP                                  Document 296-298                         Filed 09/17/24                      Page 8 of 11
                                                                                    PageID 5154

                                                                                  Media/79999887666@s.whatsapp.net/0/b/0bbfd66f-68bc-46a7-8848-   Media/79999887666@s.whatsapp.net/0/b/0bbfd66f-68bc-46a7-8848-
                                                                                  40304a2eb761.webp                                               40304a2eb761.webp




2022/02/24 13:14:23    Outgoing   Alexander Ionov         Yevgeniy Vistoropskiy
2022/02/24 13:14:27    Outgoing   Alexander Ionov         Yevgeniy Vistoropskiy   Ждём                                                            We are waiting
2022/02/24 13:14:32    Outgoing   Alexander Ionov         Yevgeniy Vistoropskiy   Все ждут                                                        Everyone is waiting

                                                                                  ‼ Задержаны журналистка «Важных историй» Ирина Долинина и
                                                                                  оператор, с которым в городе Шахты (Ростовская область) Ира     !! Irina Dolinina, who is a reporter for Vazhnye Istorii, and an operator, with whom Ira
                                                                                  снимала репортаж о местных жителях и беженцах из ЛДНР.          was filming a news report, in the city of Shakhty (Rostov Oblast), on local residents and
                                                                                                                                                  refugees from the Luhansk and Donetsk People’s Republics [LDNR], have been
                                                                                  ДАННОЕ СООБЩЕНИЕ (МАТЕРИАЛ) СОЗДАНО И (ИЛИ)                     detained.
                                                                                  РАСПРОСТРАНЕНО ИНОСТРАННЫМ СРЕДСТВОМ МАССОВОЙ
                                                                                  ИНФОРМАЦИИ, ВЫПОЛНЯЮЩИМ ФУНКЦИИ ИНОСТРАННОГО                    THIS MESSAGE (MATERIAL) WAS CREATED AND (OR) DISSEMINATED BY A FOREIGN
                                                                                  АГЕНТА, И (ИЛИ) РОССИЙСКИМ ЮРИДИЧЕСКИМ ЛИЦОМ,                   MASS MEDIA OUTLET PERFORMING THE FUNCTIONS OF A FOREIGN AGENT AND (OR) A
2022/02/24 13:23:41    Outgoing   Alexander Ionov         Yevgeniy Vistoropskiy   ВЫПОЛНЯЮЩИМ ФУНКЦИИ ИНОСТРАННОГО АГЕНТА                         RUSSIAN LEGAL ENTITY PERFORMING THE FUNCTIONS OF A FOREIGN AGENT
                                                                                  Ток вот вопрос, чёт JDN признали, а OCCRP нет. Но у наших       So here's the question: for some reason JDN was recognized but OCCRP was not. But
2022/02/24 13:31:31    Incoming   Yevgeniy Vistoropskiy   Alexander Ionov         убеждение, что OCCRP входит в JDN                               our folks believe that OCCRP is part of JDN
2022/02/24 13:31:49    Outgoing   Alexander Ionov         Yevgeniy Vistoropskiy   Все правильно                                                   That's right
2022/02/24 13:31:53    Outgoing   Alexander Ionov         Yevgeniy Vistoropskiy   Мы так и просили                                                That's what we asked for
2022/02/24 13:32:01    Incoming   Yevgeniy Vistoropskiy   Alexander Ionov         Ну и отлично тогда                                              Well, in that case, it's awesome
2022/02/24 13:32:07    Outgoing   Alexander Ionov         Yevgeniy Vistoropskiy   JDN это и есть occrp                                            JDN is, in fact, OCCRP
2022/02/24 17:46:50    Outgoing   Alexander Ionov         Yevgeniy Vistoropskiy   Документ сегодня делать?)                                       Should I do the document today?)
2022/02/24 17:46:58    Outgoing   Alexander Ionov         Yevgeniy Vistoropskiy   Он там нужен кому то ?))))                                      Does anyone need it over there?)))
2022/02/24 17:47:14    Incoming   Yevgeniy Vistoropskiy   Alexander Ionov         Ахаха, нужен конечно                                            Haha, of course, it's needed
2022/02/24 17:47:22    Outgoing   Alexander Ionov         Yevgeniy Vistoropskiy   Вот блин)                                                       Dang)
                                                                                  Media/79999887666@s.whatsapp.net/9/1/91dd0869-a52a-48a5-ab9f-   Media/79999887666@s.whatsapp.net/9/1/91dd0869-a52a-48a5-ab9f-
                                                                                  361e4024762d.jpg                                                361e4024762d.jpg




2022/02/25 09:48:32    Outgoing   Alexander Ionov         Yevgeniy Vistoropskiy
2022/02/25 09:48:40    Outgoing   Alexander Ionov         Yevgeniy Vistoropskiy   Дальше крычим тему                                              Next, we shout the topic
2022/02/25 09:49:00    Incoming   Yevgeniy Vistoropskiy   Alexander Ionov         И просмотры                                                     And views.
                      Case 8:22-cr-00259-WFJ-AEP                                  Document 296-298                         Filed 09/17/24                    Page 9 of 11
                                                                                    PageID 5155

                                                                                  Media/79999887666@s.whatsapp.net/b/7/b703fc74-be04-45b0-9a3d-   Media/79999887666@s.whatsapp.net/b/7/b703fc74-be04-45b0-9a3d-
                                                                                  883a8f815c18.webp                                               883a8f815c18.webp




2022/02/25 09:49:05    Outgoing   Alexander Ionov         Yevgeniy Vistoropskiy
2022/02/25 09:49:06    Incoming   Yevgeniy Vistoropskiy   Alexander Ionov         Ребята явно видят                                               The guys definitely see.
                                                                                  Media/79999887666@s.whatsapp.net/5/3/53d411b9-1fa1-4c17-8fb0-   Media/79999887666@s.whatsapp.net/5/3/53d411b9-1fa1-4c17-8fb0-
                                                                                  9d235dffd044.webp                                               9d235dffd044.webp




2022/02/25 09:49:13    Incoming   Yevgeniy Vistoropskiy   Alexander Ionov
2022/02/25 09:49:16    Outgoing   Alexander Ionov         Yevgeniy Vistoropskiy   Разгоняем как можем                                             We accelerate it to the best of our abilities.
2022/02/25 09:49:59    Outgoing   Alexander Ionov         Yevgeniy Vistoropskiy   Через час антивоенную коалицию дам                              In an hour I will give the Anti-War Coalition.
2022/03/17 22:34:21    Outgoing   Alexander Ionov         Yevgeniy Vistoropskiy   Привет                                                          Hi.
2022/03/17 22:34:32    Outgoing   Alexander Ionov         Yevgeniy Vistoropskiy   Бумагу пришлю ближе к 10-30                                     I'll send the paper closer to 10:30.
2022/03/17 22:34:46    Outgoing   Alexander Ionov         Yevgeniy Vistoropskiy   Провёл конференцию, нет сил уже писать                          I've held a conference. I'm too exhausted to write any more.
2022/03/18 04:11:08    Incoming   Yevgeniy Vistoropskiy   Alexander Ionov         Привет, хорошо                                                  Hi. Alright.
                                                                                  Media/79999887666@s.whatsapp.net/d/8/d8b6ac8e-395b-4874-9691-   Media/79999887666@s.whatsapp.net/d/8/d8b6ac8e-395b-4874-9691-
                                                                                  21b167ee2ea3.webp                                               21b167ee2ea3.webp




2022/03/18 06:27:02    Outgoing   Alexander Ionov         Yevgeniy Vistoropskiy
                      Case 8:22-cr-00259-WFJ-AEP                                  Document 296-298                         Filed 09/17/24                         Page 10 of 11
                                                                                    PageID 5156


                                                                                                                                                   https://t.me/readovkanews/28430

                                                                                                                                                   Media/79999887666@s.whatsapp.net/7/a/7aaed5c1-dad3-4cf3-a151-
                                                                                                                                                   ff74a0cccb7b.thumb




                                                                                   https://t.me/readovkanews/28430

                                                                                   Media/79999887666@s.whatsapp.net/7/a/7aaed5c1-dad3-4cf3-a151-
2022/03/18 06:38:40    Incoming   Yevgeniy Vistoropskiy   Alexander Ionov          ff74a0cccb7b.thumb
2022/03/18 06:38:47    Incoming   Yevgeniy Vistoropskiy   Alexander Ionov          Это не твоя тема?                                               Isn't it your topic?
2022/03/18 06:38:53    Incoming   Yevgeniy Vistoropskiy   Alexander Ionov          Круто так-то                                                    It's kind of cool.
2022/03/18 06:39:44    Outgoing   Alexander Ionov         Yevgeniy Vistoropskiy    Я пикет там организовываю                                       I'm organizing a picket protest there
2022/03/18 06:39:51    Outgoing   Alexander Ionov         Yevgeniy Vistoropskiy    И официальные заявления                                         And official statements.
2022/03/18 06:39:58    Incoming   Yevgeniy Vistoropskiy   Alexander Ionov          Понял                                                           I see.
2022/03/18 06:40:01    Incoming   Yevgeniy Vistoropskiy   Alexander Ionov          Жду тогда                                                       I'm waiting then.

2022/03/18 06:44:37    Outgoing   Alexander Ionov         Yevgeniy Vistoropskiy    https://www.instagram.com/p/CbOliGruKpj/?utm_medium=copy_link   https://www.instagram.com/p/CbOliGruKpj/?utm_medium=copy_link
                                                                                   Media/79999887666@s.whatsapp.net/7/b/7b975d45-da5c-45a5-905f-   Media/79999887666@s.whatsapp.net/7/b/7b975d45-da5c-45a5-905f-
                                                                                   ab1dc50fac81.mp4                                                ab1dc50fac81.mp4




                                                                                   [Video file]                                                    [Video file]
2022/03/18 07:45:46    Outgoing   Alexander Ionov         Yevgeniy Vistoropskiy
                                                                                   Media/79999887666@s.whatsapp.net/4/6/46b99810-948d-492c-8281- Media/79999887666@s.whatsapp.net/4/6/46b99810-948d-492c-8281-
                                                                                   ca84f20ba484.jpg                                              ca84f20ba484.jpg




2022/03/18 07:46:12    Outgoing   Alexander Ionov         Yevgeniy Vistoropskiy
2022/03/28 08:14:50    Incoming   Yevgeniy Vistoropskiy   Alexander Ionov          Call not answered                                               Call not answered
2022/03/28 08:27:43    Incoming   Yevgeniy Vistoropskiy   Alexander Ionov          Call not answered                                               Call not answered
2022/05/18 08:22:32    Outgoing   Alexander Ionov         Yevgeniy Vistoropskiy    Привет                                                          Hi
2022/05/18 08:25:51    Incoming   Yevgeniy Vistoropskiy   Alexander Ionov          Привет!                                                         Hi!
2022/05/18 08:25:54    Incoming   Yevgeniy Vistoropskiy   Alexander Ionov          Саш, я в метро                                                  I'm on the subway, Sash.
2022/05/18 08:26:16    Outgoing   Alexander Ionov         Yevgeniy Vistoropskiy    Набери как сможешь)                                             Give me a call when you can)




2022/05/18 08:26:47    Incoming   Yevgeniy Vistoropskiy   Alexander Ionov          Хорошо                                                          Alright
                      Case 8:22-cr-00259-WFJ-AEP                                  Document 296-298                            Filed 09/17/24                 Page 11 of 11
                                                                                    PageID 5157

                                                                                  Media/79999887666@s.whatsapp.net/3/7/37d01114-6a2b-4fcc-bb9e-   Media/79999887666@s.whatsapp.net/3/7/37d01114-6a2b-4fcc-bb9e-
                                                                                  e5a87b7c4cdb.webp                                               e5a87b7c4cdb.webp

2022/05/18 08:26:55    Outgoing   Alexander Ionov         Yevgeniy Vistoropskiy   [No file]                                                       [No file]
2022/05/18 09:50:13    Incoming   Yevgeniy Vistoropskiy   Alexander Ionov         Call not answered                                               Call not answered
2022/05/18 13:16:11    Incoming   Yevgeniy Vistoropskiy   Alexander Ionov         Саш, бумажки нужны к завтра                                     Sash, I need the papers by tomorrow.
2022/05/18 13:16:22    Incoming   Yevgeniy Vistoropskiy   Alexander Ionov         [Emoji(s)]                                                      [Emoji(s)]
2022/05/19 06:16:50    Incoming   Yevgeniy Vistoropskiy   Alexander Ionov         Доброе утро)                                                    Good morning)
2022/05/19 06:16:58    Incoming   Yevgeniy Vistoropskiy   Alexander Ionov         Напоминаю, ты просил                                            This is the reminder you asked for.
2022/05/19 06:26:28    Outgoing   Alexander Ionov         Yevgeniy Vistoropskiy   Доброе утро) к обеду отправлю с курьером)                       Good morning). I'll send by courier by dinner)
